Case 0:24-cv-60382-DSL Document 51 Entered on FLSD Docket 12/12/2024 Page 1 of 1



                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                         CASE NO: 24-cv-60382 LEIBOWITZ/AUGUSTIN-
                         BIRCH
  Piafsky,

             Plaintiff(s),

  vs.

  MB Home Improvement,

             Defendant(s).
                                   /

                                 NOTICE OF MEDIATION CONFERENCE

             PLEASE TAKE NOTICE that the mediation conference will be held on March 13, 2025 starting
  at 1:00 p.m. via Zoom, before Mediator Lori Adelson, Esq.



                                        CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this December 14, 2024, I electronically filed the foregoing with
  the Clerk of Court using CM/EFC, which will automatically transmit an electronic copy to counsel of
  record.



                                                    Respectfully Submitted:

                                                    /s/ Lori Adelson
                                                    By: LORI ADELSON
                                                    APPROVED DISPUTE RESOLUTION
                                                    Florida Bar No.: 0196428
                                                    ME No.: 31951 R
                                                    Office: 954-302-8960
                                                    Email: Lori@approvedADR.com
                                                    Secondary Email: CaseManager@ApprovedADR.com
                                                    401 East Las Olas Blvd, Suite 1400
                                                    Fort Lauderdale, Florida 33301
